                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION
                     CRIMINAL DOCKET NO. 1:08CR55-RLV


UNITED STATES OF AMERICA        )
                                )
                                )
           vs.                  )
                                )                       ORDER
                                )
EDWARD WILLIAM WAHLER           )
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       THIS MATTER is before the Court upon motion of Defendant’s Revised Motion to

Continue this case from the 30 June 2008 criminal term in the Asheville Division.

       On 23 June 2008, Defendant, Edward William Wahler, filed a motion to continue

which was granted by the Court. Now the Defendant has filed a Revised Motion To

Continue and request that this matter be set on the October 2008, calendar. However, this

Court does not have a October 2008, criminal term in the Asheville or Statesville Division.

Therefore, the Defendant’s motion is moot in that this Court has already granted a

continuance in this matter to its next criminal term in September 2008, and that this Court

has no such term scheduled in October 2008.

       IT IS, THEREFORE, ORDERED that Defendant's Revised Motion to Continue is

hereby DENIED.
                                            Signed: June 24, 2008




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